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                     Supreme Court of the United States
                            Office of the Clerk
                        Washington, DC 20543-0001
                                                                     Scott S. Harris
                                                                     Clerk of the Court
                                                                     (202) 479-3011
                                        July 24, 2019


   Clerk
   United States Court of Appeals for the Tenth
   Circuit
   Byron White Courthouse
   1823 Stout Street
   Denver, CO 80257


         Re: James D. Brigman
             v. United States
             No. 19-5307
             (Your No. 17-3176; 18-3136; 18-3137; 18-3135; 18-3194; 18-3140;
             18-3139)


   Dear Clerk:

         The petition for a writ of certiorari in the above entitled case was filed on July
   22, 2019 and placed on the docket July 24, 2019 as No. 19-5307.




                                           Sincerely,

                                           Scott S. Harris, Clerk

                                           by

                                           Susan Frimpong
                                           Case Analyst
